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     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     MANUEL HERRERA
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-296-WBS
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                     )       ORDER CONTINUING STATUS
11
     v.                                              )       CONFERENCE
                                                     )
12
     MANUEL HERRERA,                                 )
                                                     )       Date: April 29, 2019
13   SANDRA HERMOSILLO,                              )       Time: 9:00 a.m.
     MOCTEZUMA TOVAR, and                            )       Judge: WILLIAM B. SHUBB
14
     JUN MICAHEL DIRAIN,                             )
                                                     )
15
                                                     )
             Defendants.
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19
             The United States of America through its undersigned counsel, Brian Fogerty, Assistant
20
     United States Attorney, together with counsel for defendant Moctezuma Tovar, Thomas A.
21
     Johnson, Esq., counsel for defendant Sandra Hermosillo, Erin J. Radekin, Esq., counsel for
22
     defendant Jun Michael Dirain, Timothy Zindel, Esq., and counsel for defendant Manuel Herrera,
23
     John R. Manning, Esq., hereby stipulate the following:
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     1. By previous order, this matter was set for a status conference on December 3, 2018.
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     2. By this stipulation the defendants now move to continue the status conference to April 29,
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     2019.
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     3. The parties agree and stipulate, and request the Court find the following:
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           a. On October 23, 2018 a jury trial for defendants Jaime Mayorga and Ruben Rodriguez
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 2            was scheduled for April 15, 2019.

 3         b. It is anticipated some of the defendants will testify at the third trial and therefore the
 4
              parties believe scheduling a status conference on April 29, 2019 is appropriate. At
 5
              that time the parties will determine a judgment and sentencing schedule (with PSR
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 7
              related deadlines) so that all defendants are sentenced on/around the same day,

 8            including the trial defendants, should they be convicted.
 9         c. The government does not object to the continuance.
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11
        IT IS SO STIPULATED.
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13   Dated: November 27, 2018                                     /s/ John R. Manning
                                                                  JOHN R. MANNING
14                                                                Attorney for Defendant
                                                                  Manuel Herrera
15

16   Dated: November 27, 2018                                     /s/ Thomas A. Johnson
                                                                  THOMAS A. JOHNSON
17                                                                Attorney for Defendant
                                                                  Moctezuma Tovar
18

19   Dated: November 27, 2018                                     /s/ Erin J. Radekin
                                                                  ERIN J. RADEKIN
20                                                                Attorney for Defendant
                                                                  Sandra Hermosillo
21

22   Dated: November 27, 2018                                     /s/ Timothy Zindel
                                                                  TIMOTHY ZINDEL
23                                                                Attorney for Defendant
24
                                                                  Jun Michael Dirain

25   Dated: November 27, 2018                                     McGregor W. Scott
                                                                  United States Attorney
26

27
                                                          by:     /s/ Brian A. Fogerty
                                                                  BRIAN A. FOGERTY
28                                                                Assistant U.S. Attorney


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 1

 2                                              ORDER
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            IT IS SO FOUND AND ORDERED. The Status Conference currently set for December
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     3, 2018 is continued to April 29, 2019 at 9:00 a.m.
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 6   Dated: November 28, 2018
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